APPEAL OF GEORGE W. FULLER.Fuller v. CommissionerDocket No. 3014.United States Board of Tax Appeals9 B.T.A. 708; 1927 BTA LEXIS 2528; December 20, 1927, Promulgated *2528  Amounts received as compensation for services rendered certain municipalities during 1919 held not to be exempt from the Federal income tax, on the ground that the petitioner was neither an officer, employee nor administrative agency of any State or political subdivision thereof.  Philip Nichols, Esq., for the petitioner.  Briggs G. Simpich, Esq., for the Commissioner.  GREEN *708  In this proceeding the petitioner seeks a redetermination of his income-tax liability for the calendar year 1919, for which the Commissioner has determined a deficiency in the sum of $1,984.87.  The petitioner contends that certain compensation received from six different municipalities was exempt from the Federal income tax on the constitutional ground that the Federal Government can not tax the instrumentalities of the States.  FINDINGS OF FACT.  The taxpayer is a member of the firm of Fuller &amp; McClintock, a copartnership, and is a consulting engineer, devoting the principal portion of his time to advising municipalities as to water supply, sewage disposal, etc., and at times is engaged by municipalities to make, or participate in the making of, valuations*2529  of public utilities.  During the year 1919 the taxpayer was engaged by and received compensation from five different municipalities and his firm was engaged by and received compensation from a sixth, the services in all instances being rendered by the taxpayer and the compensation in all instances was in reality that of the partnership.  The legislature of the State of New York by statute provided for an additional supply of water for the City of New York and for the appointment of a board of water supply empowered to select and appoint engineers, fix their compensation, etc., and do such things as were necessary to procure a supply of pure and wholesome water.  The taxpayer was engaged by the board of water supply at a fixed *709  compensation per day, and together with Allen Hazen, a similar appointee, made a study and report upon a proposed filtration plant.  The taxpayer received for the services so rendered the sum of $2,457.91.  In the same year the City of Pittsburgh filed its complaint before the Public Service Commission of the Commonwealth of Pennsylvania, asking it to revise the rates applicable to the Pittsburgh Railway Co. and other street railway companies*2530  operating within that city.  The parties to the proceedings before the Commission entered into a stipulation wherein it was provided that certain designated individuals, of whom the taxpayer was one, should be appointed as a board of engineers to make an investigation of the entire situation and a recommendation as to rates.  It was provided among other things that such board was to assist the Commission in arriving at conclusions as to the valuation of property, the reasonable return thereon and the reasonable rates of fare.  It was also provided that it might make its own investigations and take testimony under oath.  The expense of the employment of various individuals was to be borne by the party whose representatives they were.  The taxpayer was the appointee of the City of Pittsburgh and received for the services so rendered the sum of $8,625.  The City Commission of Nashville, Tenn., engaged Fuller and two others to make a study and report upon a proposed extension and improvement of the city's water system.  The taxpayer received for his services the sum of $2,376.47.  The City of Plainfield and the Boroughs of North Plainfield and Dunellen, N.J., engaged Fuller as an engineer*2531  to supervise the operation and maintenance of a sewage disposal works owned and operated jointly by the three.  The taxpayer received for the services so rendered the sum of $790.  The taxpayer supervised the construction of a filtration plant, pumping station, and reservoir for the City of Wilmington, Del., and submitted a report thereon to the city.  He received for the services so rendered the sum of $762.55.  The firm of Fuller &amp; McClintock was engaged by the City of Stamford, Conn., to act as consulting engineers for the city and in particular to advise with reference to and supervise the construction of the sewage disposal plant.  The partnership was paid for the services so rendered the sum of $691.  OPINION.  GREEN: More than a century ago the United States Supreme Court, speaking through Chief Justice Marshall, in the leading case of *710 McCulloch v.. Maryland,4 Wheat. 316, recognized the doctrine impliedly established by the Constitution that the government of a State could not interfere by taxation or otherwise with the means, agencies, or instrumentalities by which the Federal Government exercised its functions.  The converse of that*2532  proposition was later established by the case of Collector v.. Day,11 Wall. 113, in which it was decided that the Federal Government could not tax the means, agencies or instrumentalities by which a State Exercised its governmental functions.  As a result of such decisions the first income-tax act passed after the Sixteenth Amendment provided "That in computing net income under this section there shall be excluded * * * the compensation of all officers and employees of a State or any political subdivision thereof." Section II B, Act of October 3, 1913.  To the same effect was the Act of September 8, 1916, unamended in this particular by the Act of October 3, 1917.  This provision, however, was omitted from the Revenue Act of 1918, its omission being explained in Report 617, Senate Finance Committee, 65th Congress, Third Session, at page 6, as follows: The committee amended Section 213(a) so as to require that any gains, profits, and income derived from salaries, wages, or compensation of personal service, of whatever kind and in whatever form paid, and so on, be subject to income tax, leaving the constitutional question as to the authority of Congress to tax*2533  certain salaries to be settled by the courts in any case in which the question may be raised.  Shortly after the passage of the 1918 Act the Secretary of the Treasury issued Treasury Decision 2843, which provided in part that: In accordance with an opinion of the Attorney General, dated May 6, 1919, and based on the well-settled rule that governmental agencies of the States are not subject to taxation by the Federal Government, it is held that salaries of State officials and salaries and wages of employees of a State are not subject to the income tax imposed by the said Revenue Act of 1918.  As a result of Treasury Decision 2843 just mentioned, article 85 of Regulations 45 and article 88 of Regulations 62 and 65 were promulgated, exempting compensation received by state officers or employees, and upon the passage of the Revenue Act of 1926, Congress provided: Sec. 1211.  Any taxes imposed by the Revenue Act of 1924 or prior revenue Acts upon any individual in respect of amounts received by him as compensation for personal services as an officer or employee of any State or political subdivision thereof (except to the extent that such compensation is paid by the United States, *2534  government directly or indirectly), shall, subject to the statutory period of limitations properly applicable thereto, be abated, credited, or refunded.  *711  The questions, therefore, which are presented in this proceeding are, first, was the petitioner either an officer or employee of any State or political subdivision thereof during the taxable year 1919; and, second, if not, is the respondent, by attempting to tax the compensation received by the petitioner from the several municipalities, in effect taxing the means, agencies, or instrumentalities by which the State exercises its governmental functions?  The latest expression by the United States Supreme Court on both of these questions is Metcalf &amp; Eddy v. Mitchell,269 U.S. 514; 46 Sup. Ct. 172. In that case Metcalf and Eddy were in 1917 consulting engineers who, either individually or as copartners, were professionally employed to advise States or subdivisions of States with reference to proposed water-supply and sewage-disposal systems.  In each case the service was rendered in connection with a particular project for water supply or sewage disposal, and the compensation was paid*2535  in some instances on an annual basis, in others on a monthly or daily basis, and in still others on the basis of a gross sum for the whole service.  The fees received by them for these services were paid over to the partnership and became a part of its gross income, upon which an income tax was collected.  The District Court held that such compensation was not exempt from taxation, either by the provisions of the statute or under the Constitution.  The Supreme Court, in affirming the decision of the District Court, said in part: We think it clear that neither of the plaintiffs in error occupied any official position in any of the undertakings to which their writ of error in No. 183 relates.  They took no oath of office; they were free to accept any other concurrent employment; none of their engagements was for work of a permanent or continuous character; some were of brief duration, and some from year to year, others for the duration of the particular work undertaken.  Their duties were prescribed by their contracts and it does not appear to what extent, if at all, they were defined or prescribed by statute.  We therefore conclude that plaintiffs in error have failed to sustain the*2536  burden cast upon them of establishing that they were officers of a state or a subdivision of a state * * *.  An office is a public station conferred by the appointment of government.  The term embraces the idea of tenure, duration, emolument and duties fixed by law.  Where an office is created, the law usually fixes its incidents, including its term, its duties and its compensation.  United States v. Hartwell,6 Wall. 385, 18 L Ed. 830; Hall v. Wisconsin,103 U.S. 5, 26 L.Ed. 302. The term "officer" is one inseparably connected with an office; but there was no office of sewage or water supply expert or sanitary engineer, to which either of the plaintiffs was appointed.  The contracts with them, although entered into by authority of law and prescribing their duties, could not operate to create an office or give to plaintiffs the status of officers.  [Citations.] There were lacking in each instance the essential elements of a public station, permanent in character, created by law, whose incidents and duties were prescribed by law [Citations].  Nor do the facts stated in the bill of exceptions establish that the plaintiffs were "employees" *2537  within the meaning of the statute.  So far as appears, they *712  were in the position of independent contractors.  The record does not reveal to what extent, if at all, their services were subject to the direction or control of the public boards or officers engaging them.  In each instance the performance of their contract involved the use of judgment and discretion on their part and they were required to use their best professional skill to bring about the desired result.  This permitted to them liberty of action which excludes the idea that control or right of control by the employer which characterizes the relation of employer and employee and differentiates the employee or servant from the independent contractor.  [Citations].  We pass to the more difficult question whether Congrees had the constitutional power to impose the tax in question, and this must be answered by ascertaining whether its effect is such as to bring it within the purview of those decisions holding that the very nature of our constitutional system of dual sovereign governments is such as impliedly to prohibit the federal government from taxing the instrumentalities of a state government, and in a*2538  similar manner to limit the power of the states to tax the instrumentalities of the federal government.  * * * Just what instrumentalities of either a state or the federal government are exempt from taxation by the other cannot be stated in terms of universal application.  But this court has repeatedly held that those agencies through which either government immediately and directly exercises its sovereign poweres, are immune from the taxing power of the other.  * * * When, however, the question is approached from the other end of the scale, it is apparent that not every person who uses his property or derives a profit, in his dealings with the government, may clothe himself with immunity from taxation on the theory that either he or his property is an instrumentality of government within the meaning of the rule.  [Citations.] * * * But here the tax is imposed on the income of one who is neither an officer nor an employee of government and whose only relation to it is that of contract, under which there is an obligation to furnish service, for practical purposes not unlike a contract to sell and deliver a commodity.  In such a situation it cannot be said that the tax is imposed*2539  upon an agency of government in any technical sense, and the tax itself cannot be deemed to be an interference with government, or an impairment of the efficiency of its agencies in any substantial way.  [Citations.] * * * We do not suggest that there may not be interference with such a contract relationship by means other than taxation which are prohibited.  * * * But we do decide that one who is not an officer or employee of a State, does not establish exemption from federal income tax merely by showing that his income was received as compensation for service rendered under a contract with the state; and when we take the next step necessary to a complete disposition of the question, and inquire into the effect of the particular tax, on the functioning of the state government, we do not find that it impairs in any substantial manner the ability of plaintiffs in error to discharge their obligations to the state or the ability of a state or its subdivisions to procure the services of private individuals to aid them in their undertakings.  * * * We therefore conclude that the tax * * * was properly assessed.  What the United States Supreme Court has said in the Metcalf case*2540  is in our opinion applicable here.  We do not believe that the *713  petitioner was either an officer or an employee of any State or political subdivision thereof.  He took no oath of office in connection with any of the contracts with the several municipalities.  He was free to accept any other employment.  There was no office created by statute to which the petitioner was appointed.  His status was prescribed by contract rather than by statute and in performing such contracts the record does not show that he was subject to the direction or control of the various public boards which engaged him.  On the contrary he was left to use his own judgment and discretion and was to exercise his best professional skill to bring about the desired result.  Since in our opinion the petitioner was neither an officer nor an employee of any State or political subdivision and whose only relation thereto was that of contract "it cannot be said that the tax is imposed upon an agency of government in any technical sense, and the tax itself cannot be deemed to be an interference with government, or an impairement of the efficiency of its agencies in any substantial way." *2541 Metcalf &amp; Eddy v. Mitchell, supra. The evidence does not show that the imposition of the tax would impair in any substantial manner the ability of the petitioner to discharge his obligations to the various municipalities or the ability of such municipalities to procure the services of private individuals to aid them in their undertakings.  Cf. Appeal of Robert G. Gordon,5 B.T.A. 1047; Appeal of Emma B. Brunner,5 B.T.A. 1135; Union Paving Co. v. Commissioner,6 B.T.A. 527; Fred H. Tibbetts v. Commissioner,6 B.T.A. 827; and A. C. Kreipke v. Commissioner,7 B.T.A. 777. Judgment will be entered for the Commissioner.Considered by STERNHAGEN, LANSDON, and ARUNDELL.  